          Case 5:08-cr-50051-KES                    Document 571           Filed 11/17/09                Page 1 of 6 PageID #: 3201
'AO 2458 (Rev, 12/03) Judgment in a Criminal Case
         Sheet I


                                       UNITED STATES DISTRICT COURT
                                           District of South Dakota, Western Division
       UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                            VS.
                                                                        Case Number: 5:08-CR-50051-008
               BRANDON ECOFFEY
                                                                        USM Number: 29572-016


                                                                        Terry L. Pechota and Joe M. Romero, Jr.
                                                                        Defendant's Attorney
THE DEFENDANT:

•o    pleaded guilty to count I of the Superseding Indictment.
      pleaded nolo contendere to count(s) which was accepted by the court.                                   FILED
o     was found guilty on count(s) after a plea of not guilty.
                                                                                                              NOV 17 2009

                                                                                                             ~
The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                                              Count
21 U.S.c. §§ 846, 84 I(a)(I)      Conspiracy to Distribute Cocaine                                            10/22/2008         Is
and 84 I(b)(I)(A)(ii)

The defendant is sentenced as provided in this judgment. The sentence is imposed pursuant the statutory and constitutional authority vested
in this court.


o     The defendant has been found not guilty on count(s)

•     Counts    II and IV of the Superseding
                Indictment
                                                         0 is      • are dismissed on the motion of the United States.


IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of an)' change of name, residence, or
mailing address until all [illes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of any matenal changes in economic circumstances.



                                                                        November 16,2009
                                                                        Date of Imposition of Judgment


                                                                         ~1~~. ~
                                                                        Signature of Judge



                                                                        Karen E. Schreier, Chief Judge
                                                                        Name and Title of Judge



                                                                        Date
              Case 5:08-cr-50051-KES                   Document 571             Filed 11/17/09     Page 2 of 6 PageID #: 3202
AO 2453       (Rev. 12/03) Judgment in Criminal Case
              Sheet 2 - Imprisonment
                                                                                                                          Judgment - Page _2_ of _5_
DEFENDANT:               BRANDON ECOFFEY
CASE NUMBER:             5:08-CR-50051-008


                                                                 IMPRISONMENT

•      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
       sixty (60) months.



•         The court makes the following recommendations to the Bureau of Prisons:
          The defendant has been convicted of a nonviolent offense. The history of substance abuse indicates the defendant would be an
          excellent candidate for the Bureau of Prisons substance abuse treatment program under 18 U.S.c. § 362He). It is recommended the
          defendant be allowed to participate in that program and, if successful, the term of incarceration be reduced accordingly.


•         The defendant is remanded to the custody of the United States Marshal.

o         The defendant shall surrender to the United States Marshal for this district:
          o        at                                          Da.m.     Op.m. on
          o        as notified by the United States Marshal.

o         The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o        before 2 p.m.
          o        as notified by the United States Marshal.
          o        as notified by the Probation or Pretrial Services Offices.

                                                                       RETURN
I have executed this judgment as follows:




          Defendant delivered on                _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ to

at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _, with a certified copy of this judgment.


                                                                                                     UNITED STATES MARSHAL



                                                                                   By                           --:-:--=-_~:--------
                                                                                                 DEPUTY UNITED STATES MARSHAL
AO 2458
            Case     5:08-cr-50051-KES Document 571
             (Rev. 12/03) Judgment in a Criminal Case
                                                                              Filed 11/17/09           Page 3 of 6 PageID #: 3203
             Sheet 3 - Supervised Release
                                                                                                                            Judgment - Page_3_of_5_
DEFENDANT:               BRANDON ECOFFEY
CASE NUMBER:             5:08-CR-50051-008

                                                            SUPERVISED RELEASE

Upon release from imprisorunent, the defendant shall be on supervised release for a term of: four (4) years.




The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
of the Bureau of Prisons.
The defendant shall not commit another federal, state, local or tribal crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisorunent and at least two periodic drug tests
thereafter, as determined by the court.
o         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
          substance abuse. (Check, if applicable.)
•         The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
•         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifappJicable.)
o         The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
          student, as directed by the probation officer. (Check, if applicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgJ!lent imposes a fme or a restitution, it is a condition of supervised release that the defendant pay in accordance with the
          Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
          on the attached page.

                                              STANDARD CONDITIONS OF SUPERVISION

     I)   the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)   the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
          month;
     3)   the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)   the defendant shall support his or her dependents and meet other family responsibilities;
     5)   the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
     6)   the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)   the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)   the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)   the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the pronation officer;
    10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
    11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
    12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court;
    13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned bX the defendant's
          criminal record or personal history or characteristics and shall permIt the probation officer to make such notIfications and to confirm
          the defendant's compliance with such notification requirement.
AO 2458    Case     5:08-cr-50051-KES
           (Rev. 12/03) ,Iudgment in a Criminal Case   Document 571   Filed 11/17/09   Page 4 of 6 PageID #: 3204
            Sheet 3C -   Supervised Release
                                                                                                   Judgment - Page _3_,_'_ of_5_
DEFENDANT:                BRANDON ECOFFEY
CASE NUMBER:              5:08-CR-SOOS1-008

                                                 SPECIAL CONDITIONS OF SUPERVISION

1.        The defendant shall not consume any alcoholic beverages or frequent establishments whose primary business
          is the sale of alcoholic beverages.

2.        The defendant shall participate in a program approved by and at the direction of the probation office for
          treatment of substance abuse, which will include testing to determine if defendant has reverted to the use of
          alcohol or drugs.

3.        The defendant shall reside and participate in a residential reentry program as directed by the probation office.
          The defendant shall be classified as a prerelease case.
4.        The defendant shall participate in and complete a cognitive behavioral training program as directed by the
          probation office.

5.        While under supervision in the District of South Dakota, the defendant shall participate in the DROPS
          program as directed by the probation office.

6.        The defendant shall submit a sample of his blood, breath, or urine at the discretion or upon the request of the
          probation office.

7.        The defendant shall submit to a warrantless search of his person, residence, place of business, or vehicle, at the
          discretion of the probation office.

8.        The defendant shall provide the probation office with access to any requested financial information.

9.        The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or
          any other anticipated or unexpected financial gains to the outstanding court-ordered financial obligation.

10.       The defendant shall not incur new credit charges or open additional lines of credit without the approval of the
          probation office unless the defendant is in compliance with any payment schedule established.

11.       The defendant shall pay the fine as ordered by the Court.

12.       The defendant shall, at the discretion of the probation office, participate meaningfully in the U.S. Probation
          Office's Community Service Project while not gainfully employed, a full-time student, or otherwise
          productively occupied.
AO 245B
            Case    5:08-cr-50051-KES Document 571
            (Rev. \2/03) Judgment in a Criminal Case
                                                                            Filed 11/17/09            Page 5 of 6 PageID #: 3205
             Sheet 5 - Criminal Monetary Penalties
                                                                                                                       Judgment - Page _4_ of_5_
DEFENDANT:               BRANDON ECOFFEY
CASE NUMBER:             5:08-CR-50051-008
                                                     CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.

                         Assessment                                  Fine                                   Restitution
TOTALS               $   100.00                                  $   500.00                               $ -0-


o         The determination of restitution is deferred until.
          An Amended Judgment in a Criminal Case (AO 245C) will be entered after such determination.

o         The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
          in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(1), all nonfederal VIctims must be paid
          before the United States is paid.

                                                                                                                                Priority Or
Name of Payee                                                                 Total Loss*             Restitution Ordered       Percentage




TOTALS                                                                $
                                                                            -------$--------
o      Restitution amount ordered pursuant to plea agreement $

o     The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.c. § 3612(t). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.c. § 3612(g).

•     The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

      •        the interest requirement is waived for the        •   fine           o restitution .
       o       the interest requirement for the         o fine            o    restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, ] lOA, and 113A of Title ] 8 for offenses committed on or after
September 13, 1994 but before April 23, 1996.
AO 245B
          Case    5:08-cr-50051-KES Document 571
           (Rev. 12/03) Judgment in a Criminal Case
                                                                             Filed 11/17/09            Page 6 of 6 PageID #: 3206
            Sheet 6 - Schedule of Payments
                                                                                                                           Judgment - Page _5_ of_5_
DEFENDANT:              BRANDON ECOFFEY
CASE NUMBER:            5:08-CR-50051-008


                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A
      •       Lump sum payment of$ l 00.00 SVAF is              due immediately. The fme in the amount of$500 shall be paid

              o
              •
                    not later
                               -------------
                    in accordance 0 C, 0 D, •
                                              , or
                                                  E, or                           o     F below); or

B     o       Payment to begin immediately (may be combined with             o    C,      o   D,       o   F below); or

c     o       Payment in equal       eeklg- (e.g., weekly, monthly,., quarterly) installments of $ over a period of (e.g., months or years), to
              commence (e.g.,      30 or 0 days) after the date or tliis judgment; or
D     o       Payment in equal3'eeklg- (e.g., weekly, monthly, or quarterly) installments of $ over a period of (e.g., months or years), to
              commence (e.g.,       o
                                 or Odays) after release from imprisonment to a term of supervision; or

E
      •       Payment of the criminal monetary penalties shall be due in regular quarterly installments of 50% of the deposits in the
              defendant's inmate trust account while the defendant is in custody. Any portion of the monetary obligation(s) not paid in full
              prior to the defendant's release from custody shall be due in monthly installments of$lOO.OO, such payments to begin, 60 days
              following the defendant's release; or

F     o       Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal moneta!)' penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made througli the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


o      Joint and Several

       Defendant and Co-Defendant Names and Case Number (including defendant number), Total Amount, Joint and Several Amount, and
       corresponding payee, if appropriate.




o      The defendant shall pay the cost of prosecution.

o      The defendant shall pay the following court cost(s):

o      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs
